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                                                                            Exhibit 3
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 l   I,                                     , declare as follows:
 2
 3   1.       This declaration is based on my personal knowledge. I execute this declaration to
 4   update the declaration made in F ebruary 2018. If called to testify in this case, I would
 5   testify competently about these facts .
 6   2.       I am 17 years old. I am currently detained at St. Michael's Home for Children in
 7        ouston Texas.    have been detained in ORR facilities for approximately one and a half
 8 years. I am miserable and am so tired of being detained. I just want to live with my
 9   family .
10   3.      Before arriving at St. Michael's I was detained at Shiloh Residential Treatment
11   Center in Manvel Texas. I was transferred from Shiloh to St. Michael's on April 26,
12   2018. The staff at hiloh told me that I didn' t need to be at Shiloh anymore. The doctor
13   at Shiloh approved me to leave. When I left Shiloh I didn' t know where I was being
14   taken. The staff just told me that I was being taken somewhere else.
15   4.       The Shiloh staff told me that I d:id not qualify to live in long-term foster care. Now
16   that I am at St. Michael's, the staff tell me that I can' t live in long-term foster care
17 because I aged out.
18   5.       Since being at St. Michael 's I have asked to meet with attorneys, but the staff says
19 that no one is here to help me. I haven't met with any attorneys since 1 arrived here. I
20   liked the attorney I worked with when I was at Shiloh. Now that I've been transferred, I
21   don't know what' s going on with my case. I have to try and investigate and research on
22   my own.
23   6.       I still have to take medication here. At night~I take one Prozac pill, and in the
24   morning I take one pill that is supposed to help me focus. The pills don't help me. I
25   take the pills because I know I have to take them, not because I want to take them I
26   don 't want to take the medications. I don ' t need to take them· I need to leave detention.
27   The staff wants me to meet with a psychiatrist, and I don't want to go. I feel fine· I don t
28   need to meet with a psychiatrist. I'm ready to leave.

                                                                                           Exhibit 3
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 1   7.    I desperately want to live with my grandfather. I love him, and I know that he
 2 would take care of me. I'm very sad because he and I recently learned that his
 3 sponsorship application was denied because he had a negative home study. The official
 4   who completed the home study did not take into account everything that my grandfather
 5   did to prepare. He bought me a new bed to show that I'd have my own nice place to
 6 sleep. The official who completed the home study made many wrong assumptions about
 7   my grandfather. The official concluded that my grandfather did not have enough dishes
 8   and food in his kitchen and therefore he couldn't afford to take care of me. My
 9   grandfather explained that he works all the time and buys food at work, so he doesn t
10   need to buy a lot of dishes and food to keep at home. Wh n the official asked my
11   grandfather whether he would make sure that I went to school, the official was bothered
12   that my grandfather responded that I was old enough to know to go to school. Of course,
13   my grandfather cares about education and would make sure that I went to chool, but the
14   official twisted his words and held lus statements against bun. The official seemed
15   worried about how much money my grandfather makes but he makes enough money to
16   support me. During the eight months that I was at Shiloh, he sent me money regularly, a
17   total of about $800-$900. He can clearly support me financially and take care ofme. He
18   is in good health and he loves me. He has done everything the government asked of him.
19 I know I would feel cared for ifl lived with him.
20   8.    Now that my grandfather has been denied, I think my case worker is trying to work
21   with my cousin to serve as my sponsor. He is about 21 or 22 years old and lives with
22   another one of our cousins and that cousin' s wife. I think that the government may
23   decide that it would be ok for me to live with my cousin because the wife lives with
24 them, so I wouldn't be the only woman in the home. I'd rather Jive with my grandfather
25   because we're really close and I would be happier with him. I'm so sad because I don' t
26 think I'll be able to live with him. My hope is that I can leave detention and live with
27 family. I know that my grandfather will continue to support me financially no matter
28 where I live.

                                                                                       Exhibit 3
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 1   9.    Here at the shelter I can t cry because the staff ask me why I'm crying. And if I
 2   laugh loud, they tell me to shut up. The staff yell at us all the time. The staff don't really
 3   care about us· they live totally different lives from us. They work here for a few hours a
 4   day, and then they get to go outside and live their lives. We just stay here locked up. We
 5 don t have any privacy. We can 't be in our bedrooms for more than five minutes. We
 6   only have five minutes in the morning to get dressed and ready for the day. We cant
 7   chew gum. We have to wear ugly clothes, and when we walk outside, I feel like people
 8   stare at me and think that I'm someone who ' s done bad things.
 9   10.   I can't stand being locked up any more. I feel so helpless and desperate. I don't
10 know what to do. I want to be released so badly. I want to live with my family. I know I
11   will be so happy when I am finally free.
12
13   I declare under penalty of perjury that the foregoing is true and correct. Executed on this
14   ~ day of June, , 2018, at          \-\OU~t'Dh       , Texas.
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 1                                        CERTIFICATE OF TRANSLATION
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                                                                           :f                        hereby certify that I am proficient in both
 4   Spanish and English, and that I accurately translated the foregoing statement and read it
 5   back to                                        in its entirety in Spanish on                        , IUhe.. B1 20 IS .
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 8                                                             Karina Marquez
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